AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT                                                                   Sep 21, 2022

                                                                   for the                                                          s/ D. Olszewski
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.
                                                                             )                         22        MJ          157
   a USPS Parcel assigned tracking number                                    )
       9505 5115 2308 2262 6590 97                                           )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  a USPS Parcel assigned tracking number 9505 5115 2308 2262 6590 97 addressed to “AJohn Charles 424 Foxtail Dr
  Hartford, WI 53027."
located in the         Eastern      District of         Wisconsin           , there is now concealed (identify the
person or describe the property to be seized):
 controlled substance, fruits of crime, or other evidence of conspiracy to and distribution and possession with intent to
 distribute a controlled substance and unlawful use of a communication facility to distribution of a controlled substance.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 U.S.C. §§ 841(a)(1), 846               Conspiracy to and distribution and possession with intent to distribute a controlled
        and 843(b).                               substance and unlawful use of a communication facility to distribution of a
                                                  controlled substance.
          The application is based on these facts:
        Please see attached affidavit, which is hereby incorporated by reference.


           u Continued on the attached sheet.
           u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                       Applicant’s signature

                                                                                               Kimberly Lincoln Inspector, USPIS
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
  telephone                                           (specify reliable electronic means).


Date:        9/21/2022
                                                                                                         Judge’s signature

City and state: Milwaukee, Wisconsin                                                        William E. Duffin, U.S. Magistrate Judge
                                                                     Printed name and title
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                    AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

             I, Kimberly Lincoln, having been duly sworn, do hereby depose and state:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I am a United States Postal Inspector, assigned to the United States Postal

Inspection Service (“USPIS”) Domicile in Milwaukee, Wisconsin. I have been a law enforcement

officer for eleven years. From September 2011 to August 2021, I served as a law enforcement

officer in the state of Illinois and from August 2021 to the present day, with the USPIS.

       2.       The USPIS is the primary investigative arm of the United States Postal Service

(“USPS”) and is charged under Title 18, United States Code, 3061 with the enforcement of laws

governing the use and movement of the United States Mail, including the misuse and fraudulent

schemes involving the mail, crimes relating to mail fraud, narcotics trafficking and identity theft

involving the United States Mail.

       3.       I have assisted in numerous drug investigations in my ten years of law enforcement

experience and received continual training in that and other fields. Through training, experience,

and discussion with fellow United States Postal Inspectors, I am familiar with various methods of

smuggling and trafficking narcotics and other controlled substances and the proceeds from sale of

such substances. I am also familiar with methods used to evade detection of both the controlled

substances and the proceeds from their sale that are used by drug traffickers. Within the USPIS, a

primary investigative assignment of mine is the Prohibited Mail-Narcotics program, which is

responsible for protecting the United States Mail from misuse by traffickers and smugglers of illicit

controlled substances. Also, within this program area is an effort to stop the misuse of the United

States Mail by said drug traffickers, by seizing the proceeds of this unlawful activity as the

proceeds are mailed back to the sources of supply.




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       4.      During my time as a Postal Inspector, I completed numerous hours of training on

criminal drug use, abuse, and trafficking. I have had both formal training and have participated in

drug investigations. More specifically, my training and experience includes the following:

       a. I am familiar with the appearance and street names of various drugs, including
          marijuana, heroin, cocaine, cocaine base (unless otherwise noted, all references to crack
          cocaine in this affidavit is cocaine base in the form of crack cocaine), ecstasy, and
          methamphetamine. I am familiar with the methods used by drug dealers to package and
          prepare controlled substances for sale. I know the street values of different quantities
          of the various controlled substances;
       b. I am familiar with the language utilized over the telephone to discuss drug trafficking,
          and know that the language is often limited, guarded, and coded;
       c. I know that drug traffickers often use electronic equipment and wireless and land line
          telephones to conduct drug trafficking operations;
       d. I know that drug traffickers commonly have in their possession, and at their residences
          and other locations where they exercise dominion and control, firearms, ammunition,
          and records or receipts pertaining to such;
       e. I know that drug traffickers often put their telephones in nominee names in order to
          distance themselves from telephones that are utilized to facilitate drug trafficking; and
       f. I know that drug traffickers often use drug proceeds to purchase assets such as vehicles,
          property, and jewelry. I also know that drug traffickers often use nominees to purchase
          and/or title these assets in order to avoid scrutiny from law enforcement officials.


       5.      Based on my training, experience, and discussion with fellow United State Postal

Inspectors and North Central (formerly Wisconsin) High Intensity Drug Trafficking Area

(HIDTA) drug task force officers, I know narcotics, drugs, paraphernalia, controlled substances,

and moneys associated with the sale of narcotics, drugs, and controlled substances are sent

through the USPS system, and I am familiar with many of the methods used by individuals who

attempt to use the USPS to illegally distribute controlled substances.

                                  PURPOSE OF AFFIDAVIT

       6.      This affidavit is made in support of a Federal Search and Seizure Warrant for the

SUBJECT PARCEL (described below), for items which may constitute the fruits,

instrumentalities, proceeds and evidence of violations of Title 21, United States Code, Sections




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841(a)(1) (Distribution and Possession with Intent to Distribute a Controlled Substance), 846

(Conspiracy to Distribution and Possession with Intent to Distribute a Controlled Substance, and

843(b) (Unlawful Use of a Communication Facility (including the mails) to Facilitate the

Distribution of a Controlled Substance). To seize: any controlled substance, and any paraphernalia

associated with the manufacture and distribution of controlled substances including packaging

materials and containers to hold controlled substances; proceeds of drug trafficking activities, such

as United States currency, money orders, bank checks, precious metals, financial instruments; and

drugs or money ledgers, drug distribution or customer lists, drug supplier lists, correspondence,

notations, logs, receipts, journals, books, records, and other documents noting the price, quantity,

and/or times when controlled substances were obtained, transferred, sold, distributed, and/or

concealed.

                                 PARCEL TO BE SEARCHED

       7.      This affidavit is made in support of an application for a Federal Search and Seizure

Warrant for a USPS Priority Mail piece (SUBJECT PARCEL). The SUBJECT PARCEL is

described as a white in color, cardboard box, (11” L x 8.5” H x 5 .5” W), weighing approximately

2 pounds 13 ounces gross total weight, bearing USPS Priority Mail tracking number 9505 5115

2308 2262 6590 97. The parcel bears a typed label addressed from “Scott Chavola 20323 Bollinger

Rd Cupertino, CA”. The typed label is addressed to “John Charles 424 Foxtail Dr Hartford, WI

53027”. The Postage paid was $16.10.

                      INVESTIGATION OF THE SUBJECT PARCEL

       8.      I, and other Postal Inspectors, have identified a trend of drug traffickers mailing

controlled substances into the Eastern District of Wisconsin, from states in the Western United

States, the Caribbean, and along the international border such as: Washington, Oregon, California,




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Colorado, Nevada, New Mexico, Texas, Arizona, and the territorial island of Puerto Rico. There,

controlled substances are more easily and readily available, due to certain state laws, and a porous

international border, among other reasons. Inasmuch as individuals who would receive these

controlled substances through the United States Mail are obliged to pay for said controlled

substances, often, the United States Mail is utilized by drug recipients to send payments back to

the drug traffickers on the West Coast, along the Southwestern United States and Puerto Rico. As

such, within the Contraband Interdiction Investigations (CI2) program area of the USPIS, certain

indicators have been identified in the area of the trafficking of both illegal drugs, and their

proceeds, through the United States Mail.

       9.      I, along with other Milwaukee Postal Inspectors, conduct routine examinations of

Postal Service databases and the outside of parcels traveling in the USPS Priority Mail and Priority

Mail Express to the Eastern District of Wisconsin from states in the Southwest and Western United

States as well as the territory of Puerto Rico.

       10.     On September 20, 2022, I was made aware of a parcel coming from California

going to 424 Foxtail Drive, Hartford, WI 53027 that law enforcement believed to be suspicious. I

obtained the packet and conducted a visual inspection of the exterior of the SUBJECT PARCEL.

The exterior inspection was indicative of drugs trafficked through the United States Mail from

California to the interior of the United States. Internal United States Postal Service databases

revealed an unidentified person mailed the SUBJECT PARCEL to the Hartford address on

September 19, 2022.

       11.     Examination of the exterior of the box revealed the parcel was addressed in a typed

manner. The postage label confirmed the mailer spent $16.10 at a Post Office in San Jose, CA

95117. The parcel was specifically addressed in the following manner:




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             From:    Scott Chavola
                      20323 Bollinger Rd
                      Cupertino, CA 95014

             To:      John Charles
                      424 Foxtail Dr
                      Hartford, WI 53027

          DATABASE QUERIES AND K9 ALERT TO THE SUBJECT PARCEL

       12.     United States Postal Service databases and Thomson-Reuters CLEAR database

search revealed there is not a Scott Chavola as a resident of the return address, in the zip code

95014, or the entire state of California. United States Postal Service databases and Thomson-

Reuters CLEAR database search revealed the address 424 Foxtail Dr, WI 53027 does not have a

resident by the name of John Charles. Based on my training and experience, using incorrect or

fake sender or receiver names or incorrect sender addresses is a technique used for Postal base

drug trafficker in order to evade law enforcement detection and controlled deliveries.

       13.     Based upon my training, experience, and discussion with fellow United States

Postal Inspectors regarding the investigation of smuggling, trafficking and distribution of

controlled substances, entering the Eastern District of Wisconsin through the U.S. Mail, I believe

the SUBJECT PARCEL likely contains controlled substances being trafficked through the United

States Mail. I then moved forward with a noninvasive law enforcement technique which would

assist to confirm or refute my suspicions.

       14.     I contacted Wisconsin State Trooper Derek Bergum, a certified narcotics canine

(K9) handler, for assistance in conducting a canine sniff of the air near the SUBJECT PARCEL.

Trooper Bergum and his canine, Smokey, are accredited through the North American Police Work

Dog Association (NAPWDA) which is a nationally based group in partnership with local, state,

federal and international agencies including private vendors, law enforcement, and first




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responders. This training establishes consensus-based best practices for the use of detection canine

teams by improving the consistency and performance of deployed teams which will improve

interdiction efforts as well as courtroom acceptance. K9 Smokey is trained in the detection of

heroin, cocaine, marijuana, methamphetamine, and other controlled substances made with like

components. Trooper Bergum and K9 Smokey were last certified in May 2022. Trooper Bergum

is a current member of the Wisconsin Canine Handler Association as well as the American Police

Canine Association, as required by the State of Wisconsin Controlled Substances Board. Trooper

Bergum advised me K9 Smokey has alerted to the presence of controlled substances, in which he

is trained to detect, over one hundred fifty times. Trooper Bergum informed me that K9 Smokey’s

alert indicated the presence of controlled substances or other items, such as the proceeds of

controlled substances, which have been recently contaminated with, or associated with, the odor

of one or more controlled substances.

       15.     On September 21, 2022, the SUBJECT PARCEL was placed amongst five empty

containers in a large, empty room located at HIDTA’s headquarters. Trooper Bergum and I

watched as Smokey ceased all movement and sat next to the SUBJECT PARCEL. Trooper

Bergum advised me these actions are consistent with K9 Smokey detecting the odor of controlled

substances.

       16.     Based upon the information as outlined in this affidavit, I respectfully believe the

SUBJECT PARCEL may contain controlled substances being trafficked through the United

States Mail. Consequently, I respectfully request authorization to open the SUBJECT PARCEL

and search its contents for evidence of controlled substance trafficking. I also request permission

to seize contents of the parcel as evidence, that may constitute contraband, proceeds or fruits of

the crime of violations of Title 21, United States Code, Sections 841(a)(1) (Distribution and




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Possession with Intent to Distribute a Controlled Substance), 846 (Conspiracy to Distribution and

Possession with Intent to Distribute a Controlled Substance, and 843(b) (Unlawful Use of a

Communication Facility (including the mails) to Facilitate the Distribution of a Controlled

Substance).

       17.     I have not included in this affidavit each and every fact known to me regarding this

investigation and search warrant application request; the facts included are only those that I,

respectfully, believe may relate to a determination of whether there is probable cause to believe

that items sought to be seized will be found in the place, or item, to be searched, and whether those

items are evidence of the offenses identified in this affidavit.

       18.     The SUBJECT PARCEL is currently being held at the USPIS office in

Milwaukee, Wisconsin.




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